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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL

 Case No.        5:19−cv−01088−JAK−KK                Date 4/30/2020
                 SABRINA COOK V. ZURICH AMERICAN INSURANCE COMPANY ET
 Title
                AL

 Present        The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT
                JUDGE

                   Cheryl Wynn                              Not Reported
                   Deputy Clerk                       Court Reporter / Recorder


         Attorneys Present for Plaintiffs:        Attorneys Present for Defendants:
                   Not Present                              Not Present


Proceedings:            (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT
                        PREJUDICE (JS-6)

In light of the parties’ Notice of Settlement, the Court orders that this action is
dismissed without prejudice. The Court retains jurisdiction to vacate this Order and
to reopen the action within 30 days from the date of this Order, provided, however,
any request by any party(ies) that the Court do so, shall make a showing of good
cause as to why the settlement has not been completed within the 30-day period,
what further settlement processes are necessary, and when the party(ies) making
such a request reasonably expect the process to be concluded. This Order does
not preclude the filing of a stipulation of dismissal with prejudice pursuant to Fed.
R. Civ. P. 41, which does not require the approval of the Court. Such stipulation
shall be filed within the aforementioned 30-day period, or by such later date
ordered by the Court pursuant to a stipulation by the parties that conforms the
requirements of a showing of good cause stated above.


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                                                               Initials of Preparer: cw




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